Case 20-31318-hdh11 Doc 579 Filed 10/02/20 Entered 10/02/20 12:59:38 Page 1of 2

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF TEXAS

In re: GGI Holdings, LLC Case No. 20-31318
NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE. Transferee hereby gives evidence and notice

pursuant to Rule 3001(e)(1), Fed. R. Bankr. P., of the transfer, other than for security, of the
claim referenced in this evidence and notice.

 

 

Bradford Capital Holdings, LP Commercial Fitness Concepts
Name of Transferee Name of Transferor

Name and address where transferee payments Scheduled Claim Number: n/a

should be sent: Scheduled Claim Amount: $76,900.00

c/o Bradford Capital Management, LLC
PO Box 4353

Clifton, NJ 07012

Attn: Brian Brager

Phone: 862-249-1349

Email: bbrager@bradfordcapitalmemt.com

 

 

 

I declare under penalty of perjury that the information provided in this notice is true and correct
to the best of my knowledge and belief.

Bradford Capital Holdings, LP
By: Bradford Capital GP, LLC, its General Partner

By: /s/ Brian Brager Date: 10/02/2020
Transferee/Transferee’s Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C.
§§ 152 & 3571

 

 
Case 20-31318-hdh11 Doc 579 Filed 10/02/20 Entered 10/02/20 12:59:38 Page 2 of 2

EVIDENCE OF TRANSFER OF CLAIM

TO: United States Bankruptcy Court
Northern District of Texas

Attention: Clerk

AND TO: GGI Holdings, LLC (“Debtor”)
Case No. 20-31318

Schedule #: Gold's Holding Corp.
Scheduled Amount: $76,900.00

Commercial Fitness Concepts, its successors and assigns (“Assignor”), for good and valuable consideration the
receipt and sufficiency of which is hereby acknowledged, does hereby unconditionally and irrevocably sell, transfer
and assign unto:

Bradford Capital Holdings, LP
Attention: Brian L. Brager

PO Box 4353

Clifton, NJ 07012

its successors and assigns (“Assignee”), all rights, title and interest, claims and causes of action in and to, or arising
under or in connection with, its claim (as such term is defined in Section 101(5) of the U.S. bankruptcy Code), in
and to the claim of Assignor, including all rights of stoppage in transit, replevin and reclamation, (the “Claim”)
against the Debtor in the Bankruptcy Court, or any other court with jurisdiction over the bankruptcy proceedings
of the Debtor.

Assignor hereby waives any objection to the transfer of the Claim to Assignee on the books and records of the
Debtor and the Bankruptcy Court, and hereby waives to the fullest extent permitted by law any notice or right to a
hearing as may be imposed by Rule 3001 of the Federal Rules of Bankruptcy Procedures, the Bankruptcy Code,
applicable local bankruptcy rules or applicable law. Assignor acknowledges, understands and agrees, and hereby
stipulates that an order of the Bankruptcy Court may be entered without further notice to Assignor transferring to
Assignee the Claim and recognizing the Assignee as the sole owner and holder of the Claim.

You are hereby directed to make all future payments and distributions, and to give all notices and other
communications, in respect of the Claim to Assignee.

IN WITNESS WHEREOF, each of the undersigned has executed this Evidence of Transfer by its duly authorized
representative dated as of Oct 01 2020 .

Commercial Fitness Concepts Bradford Capital Holdings, LP
By: Bradford Capital GP, LLC, its General Partner

By: ——— By: inne Brager
Name: Owner Name: Brian Brager
Title: CEO Title: Managing Member

 
